          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 1 of 8




                              UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                               MDL No. 2741
 LIABILITY LITGATION
                                                       Case No. 16-md-02741-VC
 This document relates to:
                                                       PRETRIAL ORDER NO. 160:
 Hardeman v. Monsanto Co., 16-cv-00525-VC
                                                       GRANTING IN PART AND DENYING IN
                                                       PART MONSANTO’S MOTION FOR
                                                       JUDGMENT AS A MATTER OF LAW ON
                                                       PUNITIVE DAMAGES; DENYING
                                                       MONSANTO’S MOTION FOR A NEW
                                                       TRIAL ON COMPENSATORY
                                                       DAMAGES



       This order addresses Monsanto’s post-trial challenge to Mr. Hardeman’s damages award.

The approximately $5 million compensatory damages award is sufficiently supported by the

evidence, and Monsanto’s request for a new trial on that issue is therefore denied. The jury’s

decision to award punitive damages is reasonable as well, but the size of the award – $75 million –

is constitutionally impermissible. This will be reduced to $20 million, for a total award of

$25,267,634.10.

                                                  I.

       State law governs review of a compensatory damages award in a diversity action. See

Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 430-31 (1996); Foradori v. Harris, 523 F.3d

477, 497 (5th Cir. 2008). Under California law, a new trial may be granted on the basis of an

excessive award only if “after weighing the evidence the court is convinced from the entire record,

                                                   1
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 2 of 8



including reasonable inferences therefrom, that the court or jury clearly should have reached a

different verdict or decision.” Cal. Civ. Proc. Code § 657; see also Seffert v. L.A. Transit Lines, 56

Cal. 2d 498, 507 (1961) (explaining that the trial judge has “the power to weigh the evidence and

judge the credibility of the witnesses” when assessing an award).1 An award need not be tainted by

passion or prejudice for the trial judge to conclude that it is excessive. Seffert, 56 Cal. 2d at 507

(explaining that while an appellate court may only intervene if an award is “so large as to indicate

passion or prejudice,” the “power of the appellate court differs materially from that of the trial court

in passing on this question”). Here, Monsanto challenges as excessive the jury’s $5,066,667

noneconomic damages award, comprised of $3,066,667 in past noneconomic damages and $2

million in future noneconomic damages.

        It is easy to uphold the award of past noneconomic damages. Mr. Hardeman presented

substantial evidence of his past emotional and physical suffering, including the terror of being

diagnosed with non-Hodgkin’s lymphoma, the uncertainty surrounding his long-term prognosis,

and the debilitating effects of chemotherapy. There is no basis for questioning the jury’s valuation

of that suffering. See Velez v. Roche, 335 F. Supp. 2d 1022, 1038 (N.D. Cal. 2014).

        Looking ahead, Mr. Hardeman is in remission, and Dr. Nabhan, Mr. Hardeman’s expert,

described his prognosis as “very good,” noting that it was “extremely unlikely” his NHL would

return. Mr. Hardeman therefore did not seek damages for future physical pain or impairment; the



1
 This standard does not appear materially different from the federal standard. See Williams v.
Gaye, 895 F.3d 1106, 1136 (9th Cir. 2018) (noting that a trial judge “can weigh the evidence and
assess the credibility of witnesses” when ruling on a motion for a new trial (quoting Kode v.
Carlson, 596 F.3d 608, 612 (9th Cir. 2010))); Handgards, Inc. v. Ethicon, Inc., 743 F.2d 1282,
1297 (9th Cir. 1984) (“A jury’s finding of the amount of damages must be upheld unless the
amount is grossly excessive or monstrous, clearly not supported by the evidence, or only based on
speculation or guesswork.”) (internal quotations omitted).

                                                    2
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 3 of 8



award of future damages is limited to damages for anxiety, mental suffering, loss of enjoyment of

life, emotional distress, and inconvenience. There is certainly sufficient evidence to support

damages for those future harms. According to Dr. Nabhan’s unchallenged testimony, the

chemotherapy put Mr. Hardeman at an “increased risk” (albeit an unquantified one) of developing

“other types of cancers.” He will therefore need lifelong monitoring, including biyearly physical

exams and blood tests, to watch for a recurrence of cancer. And with lifelong monitoring comes

lifelong anxiety: Mr. Hardeman will live the rest of his life with the fear associated with an

increased risk of cancer. Finally, remission is no guarantee. Mr. Hardeman testified that any feeling

of safety was only temporary, and soon after each appointment he would again start to “worry about

the non-Hodgkin’s lymphoma coming back.” Cancer is, as Mrs. Hardeman put it, “tenacious,” and

“you look upon life a little differently after you have gone through” it.

       But the size of the future noneconomic award – $2 million – is borderline. The jury valued

Mr. Hardeman’s past physical suffering and mental anguish at approximately $3 million. That

award encompasses the physical pain he endured from the chemotherapy, in addition to the anxiety

surrounding his diagnosis, treatment, and long-term prognosis. And his past anxiety, which

involved not knowing whether he would live or die, was surely greater than the anxiety suffered by

someone in remission. Thus, it is somewhat difficult to rationalize a conclusion that the suffering he

will face is, effectively, two-thirds of the suffering he has already endured.2


2
  Monsanto relies on the ratio of economic to noneconomic damages to argue that the award must
be reduced, but medical expenses simply do not provide a meaningful metric for the value of
anxiety and mental suffering. Moreover, the case Monsanto cites to argue that California law
requires tying emotional distress to economic loss is clearly inapplicable. See Major v. W. Home
Ins. Co., 169 Cal. App. 4th 1197, 1214 (2009). That decision involved a bad faith action against an
insurance company, and damages for emotional distress were therefore only “compensable as
incidental damages flowing from the initial breach [of the insurance policy].” Id. (alterations and
internal quotations omitted).

                                                    3
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 4 of 8



        However, Mr. Hardeman’s counsel raised one point at oral argument that helps mitigate this

concern: the jury likely intended the future award to compensate a longer period of suffering. While

the past award covers the four-year period from Mr. Hardeman’s diagnosis to the trial, his lawyer

argued at closing that the jury’s award of future damages should account for the next fifteen years.3

Viewed on a year-by-year basis, the difference between compensation for past and future suffering

is within the realm of rationality – roughly $750,000 for each past year and roughly $130,000 for

each future year. Recognizing that pain and suffering are inherently hard to quantify, the jury could

reasonably conclude that Mr. Hardeman’s ongoing fear and anxiety warrants an award that, while

significant, is still materially lower on an annual basis than his award for past harm.4

       Therefore, although it’s a close question, the Court cannot conclude, after weighing the

evidence presented at trial, that the jury clearly should not have awarded $2 million for future

noneconomic damages.

                                                   II.

       Monsanto raises two challenges to the punitive damages award: (1) any award of punitive

damages is unsupported by the evidence; and (2) even assuming some award of punitive damages is

appropriate, $75 million exceeds the constitutional ceiling set by the Due Process Clause.

       Monsanto is wrong on the first point. Based on the evidence that came in at trial, Monsanto




3
 While it would have been improper to instruct the jury on life expectancy, it was permissible for
plaintiff’s counsel to “ask the jury to measure the plaintiff’s pain and suffering on a ‘per diem’
basis.” Loth v. Truck-A-Way Corp., 60 Cal. App. 4th 757, 765 n.8 (1998); see also Dkt. No. 3191.
4
  The Court does not find the damages awards in the other cases cited by the parties to be
instructive here. Given the differences in factual circumstances – not to mention the substantial
discretion afforded to the jury – the awards don’t provide much of a compass. See Seffert, 56 Cal.
2d at 508 (“Injuries are seldom identical and the amount of pain and suffering involved in similar
physical injuries varies widely.”).

                                                   4
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 5 of 8



deserves to be punished. As relevant here, California law provides for an award of punitive

damages where the defendant acted with malice, meaning either “conduct which [was] intended by

the defendant to cause injury to the plaintiff” or “despicable conduct which [was] carried on by the

defendant with a willful and conscious disregard of the rights or safety of others.” Cal. Civ. Code

§ 3294(c)(1). It was reasonable for the jury to put Monsanto’s behavior in the latter category,

because the evidence easily supported a conclusion that Monsanto was more concerned with

tamping down safety inquiries and manipulating public opinion than it was with ensuring its

product is safe.

       But while punitive damages are appropriate, the size of this award is constitutionally

impermissible. Unlike compensatory damages, which are designed to redress the harm caused by a

defendant’s conduct, punitive damages “are aimed at deterrence and retribution.” State Farm Mut.

Auto. Ins. Co. v. Campbell, 538 U.S. 408, 416 (2013). Thus, an award of punitive damages

implicates the Due Process Clause’s prohibition “of grossly excessive or arbitrary punishments on a

tortfeasor.” Id. To guard against such awards, courts follow “three guideposts” when reviewing an

award of punitive damages: “(1) the degree of reprehensibility of the defendant’s misconduct; (2)

the disparity between the actual or potential harm suffered by the plaintiff and the punitive damages

award; and (3) the difference between the punitive damages awarded by the jury and the civil

penalties authorized or imposed in comparable cases.” Id. at 418; see also BMW of N. Am., Inc. v.

Gore, 517 U.S. 559, 574-75 (1996).

       Starting with the first guidepost, the evidence presented at trial showed that Monsanto’s

approach to the safety of its product was indeed reprehensible, but there was mitigating evidence as

well. While this jury concluded it was more likely than not that Roundup caused Mr. Hardeman’s

NHL, the metaphorical jury is still out on whether glyphosate causes NHL. The trial showed that


                                                  5
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 6 of 8



there is credible evidence on both sides of the scientific debate, and the repeated approvals of

glyphosate by the EPA, the European Chemicals Agency, Health Canada, and other worldwide

regulatory agencies, surely diminish – to a degree – Monsanto’s culpability. The scientific

landscape was even more favorable to Monsanto during the time Mr. Hardeman was using

Roundup, because he stopped using it in 2012, while IARC’s decision to classify glyphosate as

“probably carcinogenic to humans” was not released until 2015. For purposes of this case, to the

extent IARC’s decision shifted the scientific debate closer to equipoise, Monsanto’s conduct as it

relates to Mr. Hardeman should be viewed through the lens of the pre-IARC landscape.

       Moreover, Mr. Hardeman did not present evidence that Monsanto hid evidence from the

EPA or, alternatively, that it had managed to capture the EPA. While Mr. Hardeman presented

evidence that Monsanto had a cozy relationship with particular EPA employees, he did not present

any evidence that would reasonably support an inference that this relationship rendered invalid the

EPA’s approval process for Roundup. Nor did Mr. Hardeman present any evidence that Monsanto

was in fact aware that glyphosate caused cancer but concealed it, thus distinguishing this case from

the many cases adjudicating the conduct of the tobacco companies.

       That said, the evidence presented at trial about Monsanto’s behavior betrayed a lack of

concern about the risk that its product might be carcinogenic. Despite years of colorable claims in

the scientific community that Roundup causes NHL, Monsanto presented minimal evidence

suggesting that it was interested in getting to the bottom of those claims. See State Farm, 538 U.S.

at 419 (instructing courts to consider whether the defendant displayed “an indifference to or a

reckless disregard of the health or safety of others”). While Monsanto repeatedly intones that it

stands by the safety of its product, the evidence at trial painted the picture of a company focused on

attacking or undermining the people who raised concerns, to the exclusion of being an objective


                                                   6
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 7 of 8



arbiter of Roundup’s safety. For example, while the jury was shown emails of Monsanto employees

crassly attempting to combat, undermine or explain away challenges to Roundup’s safety, not once

was it shown an email suggesting that Monsanto officials were actively committed to conducting an

objective assessment of its product. Moreover, because the jury was aware that Monsanto has

repeatedly sold – and continues to sell – Roundup without any form of warning label, it was clear

that Monsanto’s “conduct involved repeated actions,” rather than “an isolated incident.” Id.; see

also Philip Morris USA v. Williams, 549 U.S. 346, 355 (2007).

       On the second factor, “courts must ensure that the measure of punishment is both reasonable

and proportionate to the amount of harm to the plaintiff and to the general damages recovered.”

State Farm, 538 U.S. at 426. And it bears repeating that compensatory damages already provide full

compensation, so punitive damages are purely an additional sanction. See id. at 419. Taking this

into account, the Supreme Court has suggested that a four-to-one ratio between punitive and

compensatory damages “might be close to the line of constitutional impropriety,” and further that

“in practice, few awards exceeding a single-digit ratio” will satisfy due process. Id. at 425 (citing

Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1, 23-24 (1991)); see also Gore, 517 U.S. at 580-81

(benchmarking the four-to-one ratio against the early English practice of using double, treble, or

quadruple damages for certain civil wrongs).

       Here, the jury’s punitive damages award was approximately 15 times the size of the

compensatory damages award. Monsanto’s conduct, while reprehensible, does not warrant a ratio of

that magnitude, particularly in the absence of evidence showing intentional concealment of a known

or obvious safety risk. Indeed, in the first case to go to trial against Monsanto on allegations that

Roundup causes non-Hodgkin’s lymphoma, Judge Bolanos of the San Francisco Superior Court




                                                    7
          Case 3:16-md-02741-VC Document 4576 Filed 07/15/19 Page 8 of 8



concluded that a one-to-one ratio of compensatory to punitive damages was appropriate.5

       Finally, the third guidepost is not particularly helpful here. Monsanto asserts that the

punitive damages award exceeds the civil fines available for failure to warn of a product’s risks

under FIFRA and the California Health and Safety Code, but it fails to identify in any detail what

those civil fines are or how they would be calculated. See 7 U.S.C. § 136j(a)(1)(E); 40 C.F.R.

§ 19.4; Cal. Health & Safety Code § 25249.7. Because both state and federal law calculate penalties

per violation, it seems entirely possible that Monsanto’s liability could, over time, become quite

high. But absent an explanation from either party about how these penalties would be calculated, it

is difficult to use them as a benchmark.

       Guided first and foremost by the nature of Monsanto’s conduct, the Court concludes that

punitive damages of $20 million – approximately four times the compensatory damages award – is

the maximum award that comports with due process. The Court will therefore enter judgment for

punitive damages in that amount. See Leatherman Tool Grp., Inc. v. Cooper Indus., Inc., 285 F.3d

1146, 1151 (9th Cir. 2002) (holding that a new trial is usually unnecessary where “a punitive

damages award exceeds the constitutional maximum”).

       IT IS SO ORDERED.

Date: July 15, 2019                                            ___________________________
                                                               Honorable Vince Chhabria
                                                               United States District Court




5
  Nor does Monsanto’s wealth support such a high ratio of punitive to compensatory damages.
While a company’s worth is relevant when considering the deterrent power of an award, it
nevertheless “cannot justify an otherwise unconstitutional punitive damages award.” State Farm,
538 U.S. at 427; see also Gore, 517 U.S. at 585 (noting that a “large corporation” is still entitled “to
fair notice” of the nature of the penalty a state might impose).
                                                     8
